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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 18-CV-80771-ROSENBERG/REINHART


   ROBERT W. OTTO and JULIE H.
   HAMILTON,

                           Plaintiffs,
   v.

   CITY OF BOCA RATON, FLA., and
   COUNTY OF PALM BEACH, FLA.,

                           Defendants.
                                                 /


                                         FINAL JUDGMENT

          Plaintiffs ROBERT OTTO and JULIE HAMILTON settled their claims against Defendants

  CITY OF BOCA RATON, FLORIDA and COUNTY OF PALM BEACH, FLORIDA, pursuant to

  Fed. R. Civ. P. 68, through accepted offers of judgment. [DE 196, 203.] The Court accordingly

  enters this Final Judgment in favor of Plaintiffs ROBERT OTTO and JULIE HAMILTON and

  against Defendants CITY OF BOCA RATON, FLORIDA and COUNTY OF PALM BEACH,

  FLORIDA, on all of Plaintiffs’ claims for relief, and ORDERS and ADJUDGES as follows:

          1)      Defendant CITY OF BOCA RATON, FLORIDA shall pay Plaintiff ROBERT

  OTTO the sum of $50,000.00 (fifty thousand dollars and no cents), as and for damages on all of

  his claims for relief;

          2)      Defendant CITY OF BOCA RATON, FLORIDA shall pay Plaintiff JULIE

  HAMILTON the sum of $25,000.00 (twenty-five thousand dollars and no cents), as and for

  damages on all of her claims for relief;
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          3)      Defendant COUNTY OF PALM BEACH, FLORIDA shall pay Plaintiff ROBERT

  OTTO the sum of $50,000.00 (fifty thousand dollars and no cents), as and for damages on all of

  his claims for relief;

          4)      Defendant COUNTY OF PALM BEACH, FLORIDA shall pay Plaintiff JULIE

  HAMILTON the sum of $50,000.00 (fifty thousand dollars and no cents), as and for damages on

  all of her claims for relief; and

          5)      The Court retains jurisdiction to determine, in subsequent proceedings, attorney’s

  fees and costs pursuant to Local Rule 7.3.

          DONE AND ORDERED in West Palm Beach, Florida, this 6th day of April, 2023.




                                                      ROBIN L. ROSENBERG
                                                      U.S. District Judge


  Copies provided to counsel of record.




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